12/14/2018                                     Fantastic! - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
Jennifer P
Fantastic!
Review of Tri State Zoological Park
Reviewed August 2, 2015         via mobile
What an amazing experience while in the big cats area the owner came up and greated
us. What a phenomenal man. His love for each of his animals at the zoo is easy to see.
It was great to know each of the animals were rescued and to hear the various stories
about how he got them. I highly recommend going to this zoo especially if you are lucky
enough to meet the owner.
Date of experience: August 2015
Ask Jennifer P about Tri State Zoological Park
3 Thank Jennifer P
This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.
See all 22 reviews
https://www.tripadvisor.com/ShowUserReviews-g41098-d4045013-r295084956-Tri_State_Zoological_Park-Cumberland_Maryland.html       1/1




                                                                                                                                      Case 1:20-cv-01225-PX Document 71-32 Filed 12/20/21 Page 1 of 11
                                                                                                                                                                                              EXHIBIT E
12/14/2018         Tri-State Zoological Park - 20 Photos - Zoos - 10105 Cottage Inn Ln NE, Cumberland, MD - Phone Number - Last Updated December 1…
11/17/2012       23 check-ins
Steven M.
Oakland, MD
Great selection of exotic animals and a small town charm.
39 friends
The owner of the ZOO takes great pride in is animals and
95 reviews                                  establishment. The animal are all rescue animals that they
539 photos                                  saved
See all photos from Steven M. for Tri-State Zoological Park
Mikki M. and 3 others voted for this review
Useful 3           Funny 1         Cool
https://www.yelp.com/biz/tri-state-zoological-park-cumberland?sort_by=date_desc                                                                 1/1




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12/14/2018         Tri-State Zoological Park - 20 Photos - Zoos - 10105 Cottage Inn Ln NE, Cumberland, MD - Phone Number - Last Updated December 1…
Erica W.
5/13/2013My friend and I took our three
Cumberland, MD
girls to the zoo today.
49 friends                                    They had a blast getting to look at the animals and we
2 reviews                                   loved that it was a short drive on the other side of town.
truly great educational experience for the girls (4, 3 and 2)
Share review
Embed review                              What bothers me is the fact that after the fire there has
been much needed to rebuild. They need volunteers and
Compliment                                funding. I am ashamed that the community has failed to pull
Send message                              together and help where it is clear they need help.. I read
the reviews on here and the complaints of cats are
Follow Erica W.                           ridiculous. Do you realize that jerks abandon their cats
there all the time? The animals are rescues, why doesn't
anyone care to help raise money and get this zoo to its true
potential?
7 people voted for this review
Useful 7           Funny 1         Cool 1
https://www.yelp.com/biz/tri-state-zoological-park-cumberland?sort_by=date_desc                                                                 1/1




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12/14/2018                              Awesome Experience - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
Christine D
Awesome Experience
Review of Tri State Zoological Park
Reviewed August 1, 2017
If you're looking for a large zoo, this isn't for you. However, if you want an up close
experience, this is definitely the animal habitat for you. Hearing the story of the owner
and his mission with the place truly touched my heart. I think what this facility does is
amazing. They rescue, both exotics and domestics, with very limited funding. They
converted a camp into something so amazing. The owner is extremely friendly and
down to earth. You can tell he genuinely cares about these animals. Him and another
member of his staff took us on a tour around the place and answered all of our
questions. They shared plenty of information about each animal they had there and
how the animal came to them. The owner, Bob, was even willing to let us tour the
facility and then go get money from the MAC machine because I only had a credit card
on me. The animals all seemed happy and healthy.
Show less
Date of experience: July 2017
Ask Christine D about Tri State Zoological Park
1 Thank Christine D
This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.




                                                                                                                                       Case 1:20-cv-01225-PX Document 71-32 Filed 12/20/21 Page 4 of 11
See all 22 reviews
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12/14/2018         Tri-State Zoological Park - 20 Photos - Zoos - 10105 Cottage Inn Ln NE, Cumberland, MD - Phone Number - Last Updated December 1…
Monica H.
8/19/2015I totally enjoyed my recent visit
Davidsonville, MD
to the Tri-State Zoological Park! I wasn't
0 friends                      expecting a big city zoo, but instead an animal rescue
1 review                      facility that provides great homes for neglected and
7 photos                      abandoned animals. And that is just what I discovered. The
all-volunteer staff was friendly and knowledgeable about
the animals and happy to answer my questions. There
were exotic and farm animals and I spent a couple of hours
watching them and taking photos. I was reminded of the
movie "I Bought a Zoo," and can't begin to imagine the cost
to keep these animals housed & fed & comfortable. I wish
they had more financial support, so they could do even
more. I will definitely go back!
https://www.yelp.com/biz/tri-state-zoological-park-cumberland?sort_by=date_desc                                                                 1/1




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12/14/2018                        Mountain Lion called like House Cat - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
Nigel D
Mountain Lion called like House Cat
Review of Tri State Zoological Park
Reviewed August 24, 2015
Anyone going here needs to understand this is a refuge for rescued animals, and
everything is covered in dung. Everything. Most of the more affable animals (pigs,
roosters, house cats, peacocks, ducks, and tortoises) are roaming freely, like an
enormous petting zoo.
If you can get past the smell and constant hopscotch routine, you'll find some unusually
intimate exhibits with larger animals. Himalayan bears, for example, are maybe 8 feet
away from you at all times, but this extends to lions, bobcats, an a handful of other
large cats.
The best of which is a mountain lion named Charlie. I swear I am not making this up:
Charlie comes to greet you when you call his name. He will actually rub up against the
fence and purr, like a 180 lb housecat. One of the owners called him out for us, then
went behind the first layer of fencing (two, for all animals, leaving employee
passageways between the guests and exhibit) and proceeded to feed him grass and
pet the lion.
You read that correctly: He could pet the mountain lion. With some caution, of course,
and all the respect afforded a large cat. All animals are rescued, and the mountain lion




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was raised in unusual intimacy with people.
If you can get over the poop, smell, and shanty entrance, you'll have a good time. That
is, however, more than most people can tolerate.
Show less
Date of experience: August 2015
Ask Nigel D about Tri State Zoological Park
5 Thank Nigel D
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12/14/2018                    please appriciate what these folks are doing - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
jpatters0n
Cumberland, Maryland
please appriciate what these folks are doing
Review of Tri State Zoological Park
Reviewed September 29, 2016
I visited a few times as I live local, You must remember these animals are rescued from
sources that no longer wanted them, These animals would have been put down had it
not been for Tri State zoological, These people get no funding from anyone they make
due with what they have, that all considered I tip my hat to the whole group. If you want
to complain, How about reaching in your wallet and donate to help with improvement's.
I think it is a great place
Date of experience: August 2016
Ask jpatters0n about Tri State Zoological Park
3 Thank jpatters0n
This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.
See all 22 reviews
https://www.tripadvisor.com/ShowUserReviews-g41098-d4045013-r423493558-Tri_State_Zoological_Park-Cumberland_Maryland.html                        1/1




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12/14/2018                              Zoorrific Zoo Awesome - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
jjstan28
Smithsburg, Maryland
Zoorrific Zoo Awesome
Review of Tri State Zoological Park
Reviewed October 18, 2016
This place is the best zoo you will ever visit. The animals are in great health and very
well taken care of. This zoo is a rescued place for animals that people can no longer
care for or was in over their heads. Bob the owner is terrific and loves what he does.
This was the first time I walked into a Zoo and didn't feel sorry for the animals. Just ask
"Mowgli" the Tiger or "Charlie" the Bobcat and they will tell you all you need to know.
We are already planning another trip to bring family and friends. Bob, thanks for great
visit and the job you do is a blessing to the animals and your community.
Show less
Date of experience: October 2016
Ask jjstan28 about Tri State Zoological Park
2 Thank jjstan28
This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.
See all 22 reviews
https://www.tripadvisor.com/ShowUserReviews-g41098-d4045013-r429311535-Tri_State_Zoological_Park-Cumberland_Maryland.html           1/1




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12/14/2018                                   Unique Zoo - Review of Tri State Zoological Park, Cumberland, MD - TripAdvisor
AMan-Duh B
Unique Zoo
Review of Tri State Zoological Park
Reviewed September 14, 2017         via mobile
When I first arrived I was turned off by the appearance, however, once inside...I
learned this is a rescue zoo for animals (abandoned, people hot pets they couldn't
handle etc). There are a variety of animals form typical zoo animals to farm animals.
The guide we had was great; very very knowledgeable and provided not only
information about the animals but how this became their home.
Date of experience: September 2017
Ask AMan-Duh B about Tri State Zoological Park
5 Thank AMan-Duh B
This review is the subjective opinion of a TripAdvisor member and not of TripAdvisor LLC.
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2/27/2020                                         Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Tri-State Zoological Park & Animal Park, Care & Rescue
501c3
January 12 ·
-0:27
84                                                     7 Comments 16 Shares
Like                     Comment                           Share
Most Relevant
Write a comment...
Press Enter to post.
Top Fan
Lee Borror I love the sounds!




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2/27/2020                                          Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Like Reply 6w Edited
Kathleen Meyers There is nothing wrong with thease animals. Get
PETA OUT OF CUMBERLAND MD I RESCUED ANIMALS FOR 50
YEARS THIS IS WRONG STEP UP HELP THIS MAN THROW
PETA OUT
3
Like · Reply · 6w
Kathleen Meyers Kathleen Meyers i rescued animals for over
50 years nothing wrong with thease happy animals
Like · Reply · 6w
Kathleen Meyers CUMBERLAND CITY STEP THE F UP
1
Like · Reply · 6w
Write a reply...
Press Enter to post.
Most Relevant is selected, so some comments m
https://www.facebook.com/pg/TriStateZoologicalPark/posts/                                                                 2/2




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